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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE MIDDLE DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

UNITED STATES OF AMERICA                          )
                                                  )
        v.                                        ) CRIM. CASE NO. 1:22-cr-361-ECM
                                                  )
YANKTON KITT KRAMER                               )

                        MEMORANDUM OPINION and ORDER

        Now pending before the court is Defendant Yankton Kitt Kramer’s unopposed motion

to continue trial (doc. 34) filed on June 8, 2023. Jury selection and trial are presently set on

the term of court commencing on July 10, 2023. For the reasons set forth below, the court

will grant a continuance of the trial pursuant to 18 U.S.C. § 3161(h)(7).

        While the trial judge enjoys great discretion when determining whether to grant a

continuance, the court is limited by the requirements of the Speedy Trial Act. 18 U.S.C. §

3161; United States v. Stitzer, 785 F.2d 1506, 1516 (11th Cir. 1986). The Act provides in

part:

        “In any case in which a plea of not guilty is entered, the trial of a defendant
        charged in an information or indictment with the commission of an offense shall
        commence within seventy days from the filing date (and making public) of the
        information or indictment, or from the date the defendant has appeared before
        a judicial officer of the court in which such charge is pending, whichever date
        last occurs.”

18 U.S.C. § 3161(c)(1).

        The Act excludes, however, certain delays from the seventy-day period, including

delays based on “findings that the ends of justice served by taking such action outweigh the

best interest of the public and the defendant in a speedy trial.” 18 U.S.C. § 3161(h)(7)(A). In

determining whether to grant a continuance under § 3161(h)(7), the court “shall consider,”
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among other factors, whether denial of a continuance would likely “result in a miscarriage of

justice,” or “would deny counsel for the defendant . . . the reasonable time necessary for

effective preparation, taking into account the exercise of due diligence.” § 3161(h)(7)(B)(i),

(iv).

        Counsel for the Defendant represents to the Court that he was recently appointed to

represent the Defendant and he needs additional time to review voluminous discovery and

prepare for trial.    The United States does not oppose a continuance.           After careful

consideration, the Court finds that the ends of justice served by granting a continuance of this

trial outweigh the best interest of the public and the Defendant in a speedy trial. Thus, for

good cause, it is

        ORDERED that the motion to continue (doc. 34) is GRANTED, and jury selection and

trial are CONTINUED from July 10, 2023, to the criminal term of court set to commence on

October 30, 2023, at 10:00 a.m. in Dothan, Alabama. All deadlines tied to the trial date are

adjusted accordingly.

        The United States Magistrate Judge shall conduct a pretrial conference prior to the

October trial term.

        Done this 9th day of June, 2023.

                                           /s/Emily C. Marks
                                   EMILY C. MARKS
                                   CHIEF UNITED STATES DISTRICT JUDGE
